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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-1193V
                                    Filed: October 19, 2017
                                        UNPUBLISHED


    TERESA SWANGO,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Uncontested;
    v.                                                       Causation-In-Fact; Influenza (Flu)
                                                             Vaccine; Shoulder Injury Related to
    SECRETARY OF HEALTH AND                                  Vaccine Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Ronald C. Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Adriana R. Teitel, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1
Dorsey, Chief Special Master:
      On September 23, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that her receipt of an influenza (“flu”) vaccine on
October 25, 2013, caused her to suffer a shoulder injury related to vaccine
administration (“SIRVA”). Petition at 1. The case was assigned to the Special
Processing Unit (“SPU”) of the Office of Special Masters.
       On October 19, 2017, respondent filed a Rule 4(c) Report and Proffer in which he
states that he does not contest that petitioner is entitled to compensation in this case.
Rule 4(c) Report at 1, 8. Specifically, respondent concluded that petitioner’s medical
course is consistent with a SIRVA, and that it was caused-in-fact by the flu vaccine she

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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received on October 25, 2013. Id. at 8. Further, the records show that petitioner
suffered the sequela her injury for more than six months. Id. Therefore, based on the
record as it now stands, petitioner has satisfied all legal prerequisites for compensation
under the Vaccine Act. Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.


                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master




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